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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                     :
 ROBIN BREDA,                                        :
                                                     :
                        Plaintiff,                   :
         v.                                          : Civil Action No.: 16-CV-11512-DJC
                                                     :
 CELLCO PARTNERCHIP                                  :
 d/b/a VERIZON WIRELESS,                             :
                                                     :
                        Defendant.                   :
                                                     :

                                     NOTICE OF APPEAL

        Notice is hereby given that Robin Breda, the plaintiff and proposed class representative in

the above named putative class action, hereby appeals to the United States Court of Appeals for

the First Circuit from the final judgment entered in this action on the 30th day of November 2017,

from the order entered in this action on the 17th day of November 2017 granting summary judgment

for defendant Cellco Partnership, and from any other previous orders relating to the entry of

judgment. Robin Breda is qualified to bring the appeal as the plaintiff and proposed representative

of the class.


Dated: December 6, 2017                                Respectfully submitted,


 /s/ Keith J. Keogh
 Keith J. Keogh (Pro Hac Vice) Ill. Bar No.                Sergei Lemberg Esq.
 6257811IL                                                 Lemberg Law LLC
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                                 CERTIFICATE OF SERVICE

       I, Keith J. Keogh, hereby certify that, on December 6, 2017, I electronically filed the

foregoing Notice of Appeal via the Court’s CM/ECF system, which will perfect service upon all

parties via their counsel of record.

                                                     /s/ Keith J. Keogh




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